Case 2:94-cr-20126-.]PI\/| Document 67 Filed 04/21/05 Page 1 of 2 Page|D 19

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IN THE UNITED sTATEs DlsTRlCT CoURT ““" lL .
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CR.NO. 2`.?’1’ crlo!zg ~w\l
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vs.
AUBREY BRIGANCE,

Defendant

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AGREED ORDER ALLOWING WITHDRAWAL AND SUBSTITUTION OF COUNSEL

Defendant’s withdrawing and substituting counsel stipulate and agree and it is therefore
ORDERED, ADJUDGED AND DECREED that Irvin M. Salky shall be substituted as attorney

of record for Defendant and that the appearance of Howard B. Manis as attorney for Defendant
shall be withdrawn from the record.

iris so oRDEREDthiS Z§l day Of QQ@`\ 2005.

/M M\Olll

UNI D STATES DISTRICT JUDGE

 

APPROVED:

W

win B. MANIS # ZCZUZ_

Withdrawing Attorney for Defendant
80 Monroe Ave.
l\/lemphis, TN 38103

guam/ima

IRVIN M. SALKY #00£/9

 

 

Substituting Attorney for Defendant %6<:\" <<Q©
240 Hawrhome sr §§ %Q,©
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UNITED sTATE DRISTIC COURT - WETERN D's'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 67 in
case 2:94-CR-20126 was distributed by faX, mail, or direct printing on
April 22, 2005 to the parties listed.

 

 

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lrvin M. Salky

LAW OFFICE OF IRVIN M. SALKY
240 Hawthorne St.

1\/1emphis7 TN 38112

Honorable .1 on McCalla
US DISTRICT COURT

